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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF WISCONSIN

 GREGORY BOYER, as Administrator of
 the Estate of Christine Boyer, and on his
 own behalf,
                      Plaintiff,                 No. 20-cv-1123-jdp
               v.

 ADVANCED CORRECTIONAL
 HEALTHCARE, INC., LISA PISNEY,
 AMBER FENNIGKOH, MONROE
 COUNTY, WISCONSIN, STAN
 HENDRICKSON, DANIELLE WARREN,
 SHASTA PARKER, AND DOES 1-3,

                     Defendants.


 GREGORY BOYER, as Administrator of
 the Estate of Christine Boyer, and on his
 own behalf,
                      Plaintiff,                 No. 22-cv-723-jdp

              v.

 USA MEDICAL & PSYCHOLOGICAL
 STAFFING, NORMAN JOHNSON,
 TRAVIS SCHAMBER,WESLEY
 HARMSTON, AND JILLIAN
 BRESNAHAN,
                Defendants.



      MONROE COUNTY DEFENDANTS’ RESPONSE TO PLAINTIFF’S
      MOTION FOR LEAVE TO FILE FOURTH AMENDED COMPLAINT

      Plaintiff, Gregory Boyer, has moved this Court in Case No. 20-cv-1123-jdp for leave

to amend the currently operative Third Amended Complaint and replace it with a Fourth

Amended Complaint. (See ECF No. 147, Case No. 20-cv-1123-jdp.) Defendants Monroe

County, Stan Hendrickson, Danielle Warren, and Shasta Parker (the “Monroe County

defendants”) hereby notify the Court that they do not oppose plaintiff’s motion to file the

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Fourth Amended Complaint, reserving all defenses, affirmative or otherwise, to said

amended complaint and their right to answer or otherwise respond to the amended

pleading pursuant to Fed. R. Civ. P. 12 and 15.

September 6, 2023                        Respectfully submitted,

                                         HANSEN REYNOLDS LLC

                                         /s/ Andrew A. Jones
                                         Andrew A. Jones
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                                         Counsel for Defendants Monroe County,
                                         Stan Hendrickson, Danielle Warren, and
                                         Shasta Parker




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